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DOROTHEA P. MARTIN,
Plaintiff,
vs.

NO. 04-2413 Ma/V

GREYHOUND LINES, INC.,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO COMPEL PLAINTIFF TO GIVE A
DEPOSITION AND FOR RELIEF FROM SCHEDULING ORDER

 

Before the court is the April 4, 2005 motion of the defendant,
Greyhound Lines, Inc., requesting that the court enter an order
compelling the plaintiff, Dorothea P. Martin, to give her
deposition. The motion was referred to the United States
Magistrate Judge for determination. For the following reasons, the
motion is granted.

Martin’s deposition was scheduled for January 19, 2005, in
Memphis, Tennessee. On January 18, 2005, Martin informed Greyhound
that she would be unable to attend. Greyhound served a second
notice of deposition on Martin on January 21, 2005. This
deposition. was scheduled to take place on February 10. 2005.
Again, on February 7, 2005, Martin contacted counsel for Greyhound
and stated that she would not be able to appear at the deposition.

It was agreed that the deposition would re-scheduled for February

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22, 2005. Finally, on February 21, 2005, Greyhound received a
telephone call from Martin in which she stated that an attorney
informed her that she did not need to appear at the scheduled
deposition.

Greyhound has filed this motion seeking an order compelling
Martin to appear for her deposition. Greyhound also requests that
the court grant it relief from the Scheduling Order if Martin's
testimony reveals the need to take additional discovery
depositions.

Pursuant to Local Rule 7.2(a)(2), responses to nwtions in
civil cases are to be filed within fifteen days after service of
the motion. Martin has not filed a response to this motion, and
the time for responding has now expired. Rule 7.2(a)(2) further
provides that “[f]ailure to respond timely to any motion. other
than one for requesting dismissal of a claim or action, may be
deemed good grounds for granting the motion.”

In the absence of any response by Martin, Greyhound's motion
to compel Martin’s deposition is granted. Accordingly, the court
orders that Martin appear for her deposition at a date, time, and
place of Greyhound's choosing.

Martin is warned that, henceforth, failure to comply with
proper discovery requests, including a notice of deposition, or

failure to comply with orders of this court will lead to dismissal

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of her complaint and/or other appropriate sanctions.

The Scheduling Order in this case sets the deadline for
completing all discovery as May 23, 2005, and the deadline for
filing of dispositive motions as June 20, 2005. Greyhound has
requested that they be granted relief from these dates in the event
that Martin’s testimony at her deposition reveals the need to take
additional discovery depositions. Given the short amount of time
between the date of this order and the deadline for discovery, it
may be difficult for Greyhound to find a convenient date in which
to depose Martin until after the close of discovery. Therefore,
the deadline for the completion of all discovery is extended thirty
(30) days until June 22, 2005. The deadline for dispositive
motions is also extended thirty (30) days until July 20, 2005.
All other deadlines established in the scheduling order remain the
same at this time.

IT IS SO ORDERED this 2nd day of May, 2005.

AAM % Z{/Mr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

         

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This notice confirms a copy of the document docketed as number 27 in
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Honorable Samuel Mays
US DISTRICT COURT

